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United States Attorney
District of New Mexico

P.O. Box 607 505/346-7274
Albuquerque, New Mexico 87103 Fax 505/346-7296

December 4, 2007

Jody Neal-Post, Esq.
317 Amherst SE
Albuquerque, NM 87106

Re: United States v. Dana Jarvis, CR-05-1849 JH
Dear Ms. Neal-Post:

I am writing in response to your letter dated December 1, 2007, in which you request
disclosure from the government of certain information regarding contacts between the
prosecution and Robert Gorence related to Dana Jarvis. You have cited to no federal authority
that prohibits contact between the prosecutors in this case and Mr. Gorence regarding Mr.
Gorence’s “own subjective intentions regarding the prerequisites for continuation of his
representation of [Jarvis],” (Doc. 1145 at 5), nor am J aware of any. To the extent your argument
is based on the New Mexico Rules of Professional Conduct, those rules do not create a right to
discovery in a federal criminal case. Because your request has no legal basis, the United States

declines to produce such information.

The United States also declines to provide you with “[d]ocumentation confirming the
assertion to the Court that the DOJ subpoena process [United States Attorneys’ Manual, Section
9-13.410] for obtaining the Gorence subpoena [was] followed.” The United States was not
required to prove compliance with that internal process prior to calling Mr. Gorence to testify.
Given your false allegation that the prosecution had not complied with that process, however, I
was compelled to inform the court that the prosecution had in fact complied. I made that
representation as an officer of the court, and the court asked for nothing more. Nor did you ask
for anything more at the hearing. The court denied your motion to quash and Mr. Gorence has
testified. Your attempt to re-litigate this issue is inappropriate.

Very truly yours,

LARRY GOMEZ
United States Attorney

BS. Chan

Assistant U.S. Attorney

cc: Joe M. Romero, Jr.
